                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                   Plaintiff,

             v.                                            Case No. 16-CR-87

ISAAC ELENA-LEONARDO,

                   Defendant.


                      REPORT AND RECOMMENDATION
                     ON DEFENDANT’S CHANGE OF PLEA


      The United States of America and the defendant, Isaac Elena-Leonardo,

appeared before me on May 30, 2017, for a change of plea colloquy pursuant to Rule

11 of the Federal Rules of Criminal Procedure. See Court Minutes for Change of Plea

Hearing, ECF No. 314. Mr. Elena-Leonardo, who was represented by counsel at the

hearing, consented to my conducting the change of plea colloquy. I explained that it

would be for United States District Judge J.P. Stadtmueller alone, not me, to enter

the plea and that my role was to conduct the plea colloquy and then to prepare a

report and recommendation for ultimate disposition by Judge Stadtmueller.

      After Mr. Elena-Leonardo was placed under oath and advised as to the

implications of being untruthful, I questioned him about his competency to go

forward with the hearing. Through his responses, I found that Mr. Elena-Leonardo

was lucid, intelligent, and not under the influence of any intoxicants or substances.




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      I then discussed in detail each of the subjects specified in Rule 11, including

the rights Mr. Elena-Leonardo would surrender by entering a plea of guilty, the

maximum penalties associated with the charged offenses, and the authority of the

sentencing judge to disregard any recommendations in the Plea Agreement, ECF No.

290, and to sentence Mr. Elena-Leonardo at the statutory maximums. Mr.

Elena-Leonardo fully understood the rights he was surrendering and the

implications of pleading guilty. Mr. Elena-Leonardo waived his right to prosecution

by indictment and consented to prosecution by information. ECF No. 315. Mr.

Elena-Leonardo also was satisfied that he had received effective assistance of

counsel.

      At the conclusion of this colloquy, I determined that the guilty plea was

knowing and voluntary and was not induced by threats or by promises not contained

in the Plea Agreement. I found that there was an independent factual basis

containing each of the essential elements of Count One of the Information, ECF No.

289, to which Mr. Elena-Leonardo was pleading guilty. Mr. Elena-Leonardo advised

that he was pleading guilty to the charged offenses because he was, in fact, guilty and

that the United States could prove beyond a reasonable doubt that he was guilty of

the charged offenses. Finally, I found that, in responding to my questions, Mr.

Elena-Leonardo was candid, respectful, and non-evasive, fully accepting

responsibility for and acknowledging the unlawfulness of his conduct.

      NOW, THEREFORE, IT IS HEREBY RECOMMENDED that defendant

Isaac Elena-Leonardo’s plea of guilty be accepted; that a presentence investigation


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and report be prepared according to the schedule set by the Court; and that Mr.

Elena-Leonardo be adjudicated guilty and have sentence imposed accordingly.

      Your attention is directed to 28 U.S.C. § 636(b)(1)(B) and (C), Fed. R. Crim. P.

59(b), and E.D. Wis. Gen. L. R. 72(c), whereby written objections to any

recommendation herein, or part thereof, may be filed within fourteen days of service

of this Recommendation. Objections are to be filed in accordance with the Eastern

District of Wisconsin’s electronic case filing procedures. Failure to file a timely

objection with the District Judge shall result in a waiver of your right to appeal. If no

response or reply will be filed, please notify the Court in writing.

      Dated at Milwaukee, Wisconsin, this 30th day of May, 2017.

                                                BY THE COURT:


                                                s/ David E. Jones
                                                DAVID E. JONES
                                                United States Magistrate Judge




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